











Opinion issued February 16, 2006       















In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-05-00595-CR
____________

GAREY L. MITCHELL, Appellant

V.

THE STATE OF TEXAS, Appellee




On Appeal from the 185th District Court
Harris County, Texas
Trial Court Cause No. 1008258



&nbsp;
MEMORANDUM  OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant, Garey L. Mitchell,  pleaded guilty without an agreed
recommendation as to punishment from the State. The court ordered a presentence
investigation report and the case was rescheduled for a punishment hearing.  The trial
court found appellant guilty and, after a hearing,  assessed punishment at confinement
for 20 years.  We affirm.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant’s court-appointed counsel filed a motion to withdraw as counsel
and a brief concluding that this appeal is without merit.  Counsel’s brief meets the
requirements of Anders v. California, 386 U.S. 738, 744, 87 S. Ct. 1396, 1400 (1967),
by presenting a professional evaluation of the record that demonstrates the lack of
arguable grounds of error.  See High v. State, 573 S.W.2d 807, 811 (Tex. Crim. App.
1978); Moore v. State, 845 S.W.2d 352, 353 (Tex. App.—Houston [1st Dist.] 1992,
pet. ref’d).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Counsel represents that he served a copy of the brief on appellant.  Counsel
also advised appellant of his right to examine the appellate record and file a pro se
brief.  See Stafford v. State, 813 S.W.2d 503, 510 (Tex. Crim. App. 1991).  More than
30 days have passed, and appellant has not filed a pro se brief.  We have carefully
reviewed the record and counsel’s brief.  We find no reversible error in the record,
and agree that the appeal is without merit.  We therefore affirm the judgment of the
trial court.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We grant counsel’s motion to withdraw.


  See Stephens v. State, 35 S.W.3d
770, 771 (Tex. App.—Houston [1st Dist.] 2000, no pet.). 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Any pending motions are denied as moot.

PER CURIAM

Panel consists of Justices Nuchia, Keyes, and Hanks.

Do not publish.  Tex. R. App. P. 47.2(b).


